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                UNITED STATES DISTRICT COURT - DISTRICT OF MASSACHUSETTS
                                         ANDRE BISASOR, Plaintiff,
                                                       v.
              CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                   UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                            Case No. 1:23-CV-11313

   EXPEDITED/EMERGENCY MOTION TO ALLOT 1 HOUR FOR THE JULY 27, 2023
                            HEARING
1. I, the plaintiff in this case, hereby submit this motion to allot 1 hour for the July 27, 2023 hearing.
2. Grounds are as follows.
3. On 6/20/23, a hearing date was first set to be at 11am in person on July 27, 2023 hearing.
4. I subsequently requested permission to attend the hearing by zoom.
5. On 6/22/23, the request that the hearing be conducted via ZOOM was allowed.
6. On 7/6/23, there was another time change to 10am.
7. On 7/20/23, the time was changed once more to 12pm, in order to accommodate the zoom hearing
    on July 27, 2023.
8. When I inquired about the time allotted for the hearing, I was informed that typically the court will
    provide 5 to 10 minutes per side. This suggests that the hearing may go for 10 to 20minutes in total.
9. I am concerned that this will not be enough time.
10. I believe 1 hour would be best to allot for the hearing (30 mins for plaintiffs and 30 minutes for
    defendants) as needed, so that we don't run out of time.
11. This is my first hearing in federal court so as a pro se going up against 4 opposing lawyers, I am
    concerned I will be at a disadvantage.
12. Also, pending before the court, there is a motion to remand, and two motions to dismiss including two
    antislapp motions, plus other related matters, such as the need for limited discovery for remand,
    personal jurisdiction and antislapp, etc., and a motion to amend complaint and a motion for default.
13. So I want to ensure that I have a fair and meaningful opportunity to be heard in this hearing. Therefore
    I want to ensure there is enough time for a proper hearing so that I can have a meaningful opportunity
    to be heard on these issues especially because I am a pro se non lawyer.
14. Moreover, the court may have questions, so that will take up time, in addition to the time by each party.
15. Plus, I assume that there will or should be an opportunity to rebut or follow-up to whatever the other
    side has said. There are some complicated issues involved and it may be important to allow follow-up.
16. NB: There are 3 defendants (the Donais defendants) who represented by two lawyers of a law firm (and
    they filed one motion to dismiss together), and another 2 defendants (the Hilliard defendants) who are
    represented by another two lawyers of another law firm (and they filed a separate motion to dismiss
    together).
17. Because there are multiple defendants and multiple defendant lawyers, I may need to be able to speak
    to each of their presentations, depending on how many of them will be given time to speak. And I
    need to have at least equal time to all of the defendants combined. Otherwise I will be at a disadvantage.
18. As a pro se non-lawyer, I am not trained to present like a lawyer and so I may not be able to meet the
    high standard of precise lawyering required in federal court, where I have to be on point and highly
    efficient in the presentation of my legal arguments. Without training as a lawyer, I will not know how
    or where to focus/edit my legal presentation in a choice of competing points that need to be made to
    the court, where with only 5 minutes, for example, I will likely have to sacrifice certain critical points to
    the court. If I have 8 points to make to the court, and I can only make 3 in 5 minutes, I will not know
    which of the 3 are the most critical to make and which 5 to not make, even though to me, all 8 are
    important to the defense of my case against dismissal. Lawyers are trained to make those calls I am not.
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    Also, I am not trained to talk at high speeds to a court and I am not trained on how to not get distracted
    by all the formalities of a court, especially a federal court and especially before a highly esteemed judge
    such as yourself. All of this is very intimidating. I am asking for a little leeway here. I am asking to be
    allowed up to 30 minutes total on my side, including follow-up or rebuttal.
19. Also, because I did not have a lot of time to prepare my filings prior to hearing, I need to be able to
    augment my writings with oral argument. The defendants removed the case to federal court and then
    both filed motions to dismiss on 6/13/23 and 6/16/23 including antislapp motions. I need to be able
    to properly address the antislapp issues before the court, as this is a complicated issue and 5 minutes
    will not be enough time to do so for two motions to dismiss including complicated issues such as the
    antislapp plus the issues of personal jurisdiction, improper venue, venue transfer, litigation privilege,
    spousal disqualification, plus remand, amendment, default, discovery, etc, all pertaining to or for two
    set of defendants totaling 5 defendants including two law firms as defendants.
20. This is simply too much as to meet all of this would require defying the laws of physics. For example,
    if I cover 1 minute for personal jurisdiction, 1 minute for improper venue, 1 minute for venue transfer,
    1 minute for spousal disqualification, and 1 minute for antislapp, that’s already 5 minutes and that is
    only for one motion to dismiss by the Donais defendants. But if we double that 5 minutes to cover the
    Hilliard defendants, then that’s 10 minutes. But even with that I can’t even cover personal jurisdiction
    for all 3 Donais defendants in 1 minute for one motion to dismiss, much less for the other 2 Hilliard
    defendants in 1 minute. It is physically impossible.
21. Furthermore, there is no time whatsoever to cover remand, any limited discovery requests, amendment
    of the complaint or default. There is also no time for rebuttal/follow-up, and no time for questions or
    comments by the judge. It will be literally impossible to cover all of that in 5 or even 10 minutes on my
    side. It is too much of a herculean task. I fear, given the stakes including the antislapp that carry
    automatic attorney fees if awarded, I will be severely prejudiced in this hearing simply from a structural
    systemic standpoint. I simply will not have enough time to say much of anything and to property or
    effectively attempt to defend my case against dismissal, etc. I will be behind the “eight ball” before the
    hearing even begins.
22. Similarly, it should be noted that, in state court, usually an hour, at least, is allotted for a motion to
    dismiss hearing and that’s when both sides are represented by lawyers. To take the point further, even
    in an appeal before state court appeals court or before the state supreme court allows more time than
    5 to 10 minutes per side on appeal (usually 15 minutes per side, at a minimum, I believe is standard in
    state appeals courts and usually up to 30 minutes per side is allowed if requested, and that is for an
    appeal).
23. I really do not know how I can cover all of the above in 5 to 10 minutes, especially as a non-lawyer.1
24. Thus, this is why I am filing a motion seeking enlargement of time in this instance from 5 to 10 minutes
    on my side to 30 minutes total, which mean enlarging the total time of the hearing from 10 to 20 minutes
    usually allotted, to 60 minutes in total for both sides. I hope I am making sense.
25. I believe, at least 60 minutes will be needed given the total number of parties, and the nature of the
    issues in the case.
26. In light of all of the above, this is a reasonable and measured request.
27. When I reached out to the defendants about this, they said they did not oppose but also did not assent.
    See attached email as Exhibit 1. I think essentially their position is that they will leave it up to the judge
    to decide how much time he wants to allot for the hearing.
28. Please grant the relief requested.
29. Expedited treatment is requested because the hearing is in two days.



1 NB: There are also might preliminary or housekeeping issues that might come in this hearing such compliance issues with

local rule 7.1 on conferring and also issues of candor and truthfulness to the court.
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                                                                                            Respectfully submitted,
                                                                                                      Andre Bisasor
                                                                                                   /s/andre bisasor
                                                                                 679 Washington Street, Suite # 8206
                                                                                               Attleboro, MA 02703
Date: July 25, 2023
                                         CERTIFICATE OF SERVICE
    I hereby certify that the foregoing was or will be served to the parties in this case via the court’s electronic
                                               filing/service system.

                                                                                                    /s/andre bisasor
                                                                                                       Andre Bisasor
                                                                                 679 Washington Street, Suite # 8-206
                                                                                              Attleboro, MA 02703




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                     EXHIBIT 1




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